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 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Kenneth Dale Lewey&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The People of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 22SC756&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;March 13, 2023&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="158" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="158" data-sentence-id="175" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_175"&gt;&lt;span class="ldml-cite"&gt;Case No. 20CA265&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="215" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="215" data-sentence-id="238" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition for Writ&lt;/span&gt; of Certiorari DENIED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="278" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="278" data-sentence-id="301" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;GABRIEL&lt;/span&gt;&lt;/span&gt; would grant as to the following issue:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="356" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="356" data-sentence-id="372" class="ldml-sentence"&gt;Whether
 Mr. Lewey is entitled to a new trial where &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;
 erroneously denied three valid for-cause challenges and
 forced him to exercise half of his peremptory strikes to
 remove the biased jurors, placing him at a significant
 disadvantage relative to &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt;.&lt;/span&gt;
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